UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF MISSOURI

DIVISION

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Ent_cr above the Full name oi`Plaintif`!`or l’laintif]`s injlhis action €'<" CJ[) J )

)
vs. ) CASE NO.
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PF@@@ )
)
)
Enter above the full name ol`Dc|i.-nd.am or Di:f'endaan in this action )

l. Parties to this Civil Action

(In item A below, place your name in me first blank and place your present address in the second blank. Do the
same f`or additional piaintift`s, it`any, on back side ofthis sheet.}

A_ Name orplaimirr L.L)al-l/Q.u~ lJ-. LL)a\l./L@e

Address 21%¢15 DFL{€`L% RV€’BQU@’
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B. Name ofDefendant(s)

 

II. Statement of Claim

(State here as briefly as possible the facts ot`your claim. Describe how each named defendants is involved
Inc|ude the names ofother persons involved, dates, and places Do not give any legal arguments or cite any
cases or statutes. If you intend to allege a number of related claims, number and set forth each claim in a
separate paragraph. [Use as much space as you need to state the t`acts. Attach extra sheets it` necessary.]

Unrelated separate claims Shouldhe ised in separate civil action1-ij . \ ‘
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Case 4:16-cv-00265-SRB Document 1-1 Filed 03/21/16 Page 2 of 8

III. Reliel`

State briefly exactly what you want the Court to do for you.

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) <
Make no legal arguments Cite no cases or statutes "" l I_P w :Y`P\ O"fl 361 l 0 1455
IV. Do you claim the wrongs alleged in your complaint are continuing to occur at the
present time‘.’
Yes No ij
V. Do you claim actual or punitive monetary damages for the acts alleged in your
complaint? \\

Yes gl/ No m

lf you answered yes, state the amounts claimed and the reasons you claim you are entitled to

 

 
        

  

 

recover money damages . l .
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\:’10. ill/1 _"tt l o tv."_,:.{t¢'§ B.l'e hj_\,f)
\,\ J \J
Vl. Counsel

Do you have an wyo represent you in this civil action?
Ves l:l No

A. Have you made any effort to contact a private attorney to determine if he or she would
represent you in this civil action?

Yes B/ No ij

B. If you answered yes, state the names and addresses of the attorneys contracted, and
give the results of those efforts

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C. lf you answered no_, state your reasons why no such efforts have been made

 

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V. \._, ._NW.HCHL J_-J__F`lleu Ud/AJ_/lb Page 3 Of 3

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Vll. Administrative Procedures

B.

If you answered yes, state

the date your claims were s
presented, and the result 0
) .

0 presented, how they were
f that procedure

    

 

 

 

C.

It` you answered no, giv
not been presented thro

 

 

 

VIII. J

ury Demand

Do you request ajl.uy trial? Yes k Ne

Signed this 15 Hl‘ day of l A

  

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Signature of Plaintiffor Plaintif`fs

` e 4 of 8
Case 4'16-cv-00265-SRB Document 1-1 Fl|ed 03/21/16 Pag

  

Len of employment

 

 
   
  

Net lncome: Monthly $ Weekly $
Gross Ineome: e_ekly $

III. FINANCIAL STATUS

(Answer questions on beha|fof both the plaintiff petitioner or complainant and spouse}.

Ifyes - Description:

 

Address:

 

A. Owner oi`reai property? Yes_ No k

In whose name? \
Estimated value: >\

/ \`_
Total amount owed: /

Owed to:

 

 

Annual income from property:

 

B. Owner of automobile: Yes No f
lf yes - Number of` automobiles owned: /
Make Model Yj/

  

/

_"___~_____W_ l`__________
Make Mode|j/ Year_
In whose name registere \/

Present value:

 

 

Amount owed on the auV` e(s):
Owed to: \

f/

Monthly payment(s]/':

C. Cash on hand: (lnclude checking and savings accounts)

$jP/“

 

Case 4:16-cv-00265-SRB Document 1-1 Filed 03/21/16 Page 5 of 8

G. State name or names of dependents who live with you, their age, address,
rel ationship, and how much of their monthly support you provide:

 

 

 

 

l\ie inc
Il. EMPLOYMENT
A. Narne of employcr: /
Address of employer: /

 

   

Employer's telepho Length of e loyment:

.lob title or description:

 

  
  
  

Nel lncome: Monthly $ Weekly $

Gross lncome: Monthly $ ly $

Does employer provide health insi},rance: Yes
/

If` employer provides health___in§nrance, describe coverage: §

 

 

B. Previous employment (Answer only if presently unemployed)

Name of`ernployer:

 

Address of empon r: /l

  
  

Employer's telephone: Lengt f employment

Job title or description:

 

  
  
 

Net lncome: Monthly $ Weekly $
Gross lncome: Monthl Weekly $
C. Employment of spouse:

Name of employe .

 

Address of employer:

 

Case 4:16-cv-00265-SRB Document 1-1 Filed 03/21/16 Page 6 of 8

IV.

List names and addresses of banks and associations: §§ 6 m §

Please do not state account ntunbers.

D. Have you received within the past 12 months any money from any of the
following sources:

Y es
Rent payments, interest or dividends?

Pensions, trust funds, annuities or life
Insurance payments?

Gifts or inheritances?
Welfare Payments?
ADC or other governmental child support?

Unemployment benefits?

Other sources?

i\ \i\\mn i\ §

Social Security Benefits Z;

E. .If the answer to any item in D above was "Yes", describe each source of
money and state the amount received from each during the past 12 months:

     

  

 
 

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\B

 

OBLIGATIONS
A. Monthly rental on house or apartment d
B. Monthly mortgage payments on house: d
Amount of equity in house: D//
/
C. Monthly mortgage payments on other properties: $ Q_i
Amount of equity in other properties: $ g

D, Household expensest \ 5 n

case 4;1@-Cvl>aaza'a_aaetyaaeane `-

 

Monthly utilities:

Gas:

 

\J
Electric: d
Water: !CB/
Other:(Specify) O§

 

E. Other debts and miscellaneous monthly expenses:
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PAYMENTS

 

 

 

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V. O"I`HER lNFORMATION PERTINENT TO FINANCIAL STATUS

(lnclude information regarding stocks, bonds, savings bonds_. either individually orjointly owned}.

 

 

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Case 4:16-cv-00265-SRB Document 1-1 Filed 03/21/16 Page 8 of 8

